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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION


    In re: WELLINGTON, KENNETH                                 §    Case No. 18-58335-JWC
           PAUL                                                §
                                                               §
                                                               §
                                Debtor(s)


                                     AMENDED TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 05/17/2018. The
    undersigned trustee was appointed on 05/17/2018.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $       1,564,619.17
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                 251,269.20
                            Administrative expenses                               430,476.73
                            Bank service fees                                       8,619.50
                            Other payments to creditors                                 0.00
                            Non-estate funds paid to 3rd Parties                        0.00
                            Exemptions paid to the debtor                          20,850.00
                            Other payments to the debtor                          837,227.61
                            Leaving a balance on hand of1              $           16,176.13
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 10/01/2018 and the deadline for filing
    governmental claims was 11/13/2018. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $37,768.27. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $37,768.27 as interim compensation and now requests the sum of $0.00, for a
    total compensation of $37,768.272. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $127.68 and now requests reimbursement for expenses of $0.00 for total
    expenses of $127.682.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 02/02/2023                                     By: /s/ S. Gregory Hays
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                               Form 1
                                                                                                                                                         Exhibit A
                                           Individual Estate Property Record and Report                                                                  Page: 1

                                                            Asset Cases
Case No.:    18-58335-JWC                                                                       Trustee Name:      (300320) S. Gregory Hays
Case Name:         WELLINGTON, KENNETH PAUL                                                     Date Filed (f) or Converted (c): 05/17/2018 (f)
                                                                                                § 341(a) Meeting Date:       06/19/2018
For Period Ending:         02/02/2023                                                           Claims Bar Date:      10/01/2018

                                      1                                 2                      3                      4                   5                   6

                           Asset Description                         Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)           Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                      Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                and Other Costs)

    1       3301 Forrest Hills Drive, Atlanta, GA                    216,105.00                    15,390.00                           257,500.00                          FA
            30354
            Sale of property closed on 7/31/18 per Order entered
            on 7/27/18 (Dkt # 24).

    2       2014 Chevrolet Equinox FWD, 38500                         15,800.00                         0.00         OA                        0.00                        FA
            miles
            Notice of abandonment filed by Trustee on 7/2/18.
            Docket # 19.

    3       Living room Set, Bedroom Set, Dining                        1,400.00                        0.00                                   0.00                        FA
            Room Set, TV, DVD Player.

    4       Pers. Clothing @ Res.                                           950.00                      0.00                                   0.00                        FA

    5       Cash                                                             40.00                      0.00                                   0.00                        FA

    6       Deposits of money: Pers. Checking                               260.00                      0.00                                   0.00                        FA
            Account @ Delta Comm. Credit Union.

    7       125,000 shares of closely held private                      1,250.00                    1,250.00                        1,307,119.17                           FA
            company, Synovos, Inc., 1% ownership

    7       Assets Totals (Excluding unknown values)                $235,805.00                 $16,640.00                         $1,564,619.17                     $0.00




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                                                                                                                                    Exhibit A
                                    Individual Estate Property Record and Report                                                    Page: 2

                                                     Asset Cases
Case No.:   18-58335-JWC                                                       Trustee Name:      (300320) S. Gregory Hays
Case Name:      WELLINGTON, KENNETH PAUL                                       Date Filed (f) or Converted (c): 05/17/2018 (f)
                                                                               § 341(a) Meeting Date:    06/19/2018
For Period Ending:     02/02/2023                                              Claims Bar Date:     10/01/2018


 Major Activities Affecting Case Closing:

                            7/31/2018 - Trustee sold Debtor's real property located at 3301 Forrest Hills Drive, Atlanta, GA 30354 for
                            $257,500 as ordered and approved by the Court on July 24, 2018 [Doc. No. 24].

                            6/19/2018 - The Trustee was exploring the sale of 125,000 shares of closely held private company, Synovos,
                            Inc. The 125,000 shares represent approximately a 1% ownership of Synovos. The Trustee served a
                            subpoena on Synovos and was reviewing documents received and value of ownership interest.

                            1/8/2021 - Trustee receives a letter from counsel for Synovos regarding a merger of Synovos where the
                            125,000 shares of Synovos will be converted into the right to receive a portion of the merger consideration.

                            3/22/2021 - Trustee received a wire for $1,275,405.27 representing the bankruptcy estate's share of the
                            merger consideration.

                            5/14/2021 - Trustee received a second wire for $15,537.77 representing additional funds from the conversion.

                            5/14//2021 and 6/13/2021 - Trustee pays taxes associated with Synovos transactions after receiving court
                            approval and files final estate tax returns.

                            7/14/2021 - Trustee will be submitting his final report which will pay unsecured creditors in full and a $800k+
                            surplus distribution to the Debtor.

                            10/01/21 NFR with COS filed

                            1/21/22 - Wire received - No notice provided. Escrow/holdback released as part of Synovos
                            merger/conversion. Debtor had ~1% interest in Synovos.

                            January 2022 - Notice received from the IRS regarding payment application issues.

                            1/18/23 - Wire received - No notice provided. Escrow/holdback released as part of Synovos
                            merger/conversion. Debtor had ~1% interest in Synovos.

 Initial Projected Date Of Final Report (TFR): 06/30/2020              Current Projected Date Of Final Report (TFR):   08/23/2021 (Actual)


                     02/02/2023                                                    /s/S. Gregory Hays
                        Date                                                       S. Gregory Hays




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                                                                   Form 2                                                                                  Exhibit B
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                                                   Cash Receipts And Disbursements Record
Case No.:              18-58335-JWC                                        Trustee Name:                          S. Gregory Hays (300320)
Case Name:             WELLINGTON, KENNETH PAUL                            Bank Name:                             Mechanics Bank
Taxpayer ID #:         **-***9980                                          Account #:                             ******3800 Checking
For Period Ending:     02/02/2023                                          Blanket Bond (per case limit):         $31,475,000.00
                                                                           Separate Bond (if applicable):         N/A

    1            2                         3                                        4                                    5                    6                        7

  Trans.    Check or        Paid To / Received From           Description of Transaction            Uniform         Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                Tran. Code         $                       $

 08/06/18              Wsissman Closing Escrow            Sale of 3301 Forrest Hills Drive,                             212,118.94                                     212,118.94
                       (Richardson Purchaser)             Atlanta, GA per Order Docket # 24.
                                                          Mortgage payoff to be determined.
                       Mario Richardson                   Seller paid closing costs paid per        2500-000
                                                          Order, Docket # 24.
                                                                                   -$7,500.00
                       Fulton County Tax Commissioner     2018 Property taxes paid per              2820-000
                                                          Order, Docket # 24.
                                                                                   -$1,916.56
                       Weismann PC                        Mailing and filing costs paid per         2500-000
                                                          Order, Docket # 24.
                                                                                        -$166.00
                       Keller Williams Realty Intown      Real estate commission paid per           3510-000
                                                          Order, Docket # 24.
                                                                                   -$8,220.00
                       Red Door Realty Atlanta            Real estate commission paid per           3510-000
                                                          Order, Docket # 24.
                                                                                   -$7,725.00
                       City of Atlanta                    Watershed lien paid per Order,            4120-000
                                                          Docket # 24.
                                                                                         -$10.00
                       City of Hapeville                  Water lien paid per Order, Docket         4120-000
                                                          # 24.
                                                                                        -$243.50
                       Kenneth Paul Wellington            Debtor exemption paid per Order,          8100-002
                                                          Docket # 24.
                                                                                  -$19,600.00
              {1}      Mario Richardson                   Purchase of 3301 Forrest Hills            1110-000
                                                          Drive, Atlanta, GA per Order
                                                          Docket # 24.
                                                                                 $257,500.00
 08/08/18     101      Loan Depot                         Borrower: Kenneth P Wellington,           4110-000                                 198,979.42                    13,139.52
                                                          Loan # ******3835
                                                          Voided on 08/29/2018
 08/29/18     101      Loan Depot                         Borrower: Kenneth P Wellington,           4110-000                                -198,979.42                212,118.94
                                                          Loan # ******3835
                                                          Voided: check issued on
                                                          08/08/2018
 08/31/18              Rabobank, N.A.                     Bank and Technology Services              2600-000                                      233.91               211,885.03
                                                          Fees
 09/28/18              Rabobank, N.A.                     Bank and Technology Services              2600-000                                      162.54               211,722.49
                                                          Fees
 10/31/18              Rabobank, N.A.                     Bank and Technology Services              2600-000                                      191.41               211,531.08
                                                          Fees
 11/13/18     102      Loan Depot                         Borrower: Kenneth P. Wellington,          4110-000                                 199,243.15                    12,287.93
                                                          Loan # ******3835. Mortgage
                                                          payoff. Paid per Order, Dkt # 24.
 01/30/20              Transition transfer Debit          Transition transfer debit. Transfer       9999-000                                  12,287.93                         0.00
                                                          from Mechanics Bank account to
                                                          East West Bank account




                                                                                                Page Subtotals:    $212,118.94            $212,118.94


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                          ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              18-58335-JWC                                    Trustee Name:                    S. Gregory Hays (300320)
Case Name:             WELLINGTON, KENNETH PAUL                        Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***9980                                      Account #:                       ******3800 Checking
For Period Ending:     02/02/2023                                      Blanket Bond (per case limit):   $31,475,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                       $


                                         COLUMN TOTALS                                                        212,118.94           212,118.94                    $0.00
                                                Less: Bank Transfers/CDs                                            0.00             12,287.93
                                         Subtotal                                                             212,118.94           199,831.01
                                                Less: Payments to Debtors                                                            19,600.00

                                         NET Receipts / Disbursements                                      $212,118.94            $180,231.01




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                 ! - transaction has not been cleared
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                                                 Cash Receipts And Disbursements Record
Case No.:              18-58335-JWC                                     Trustee Name:                         S. Gregory Hays (300320)
Case Name:             WELLINGTON, KENNETH PAUL                         Bank Name:                            East West Bank
Taxpayer ID #:         **-***9980                                       Account #:                            ******0134 Demand Deposit Account
For Period Ending:     02/02/2023                                       Blanket Bond (per case limit):        $31,475,000.00
                                                                        Separate Bond (if applicable):        N/A

    1            2                      3                                       4                                   5                    6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction           Uniform         Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code         $                      $

 01/30/20              Transition Transfer Credit      Transition Transfer Credit. Transfer     9999-000            12,287.93                                           12,287.93
                                                       from Mechanics Bank account to
                                                       East West Bank account
 03/31/20              East West Bank                  Bank and Technology Service Fee          2600-000                                         9.81                   12,278.12
 04/30/20              East West Bank                  Bank and Technology Services             2600-000                                       19.62                    12,258.50
                                                       Fees
 05/29/20              East West Bank                  Bank and Technology Services             2600-000                                       18.93                    12,239.57
                                                       Fees
 06/30/20              East West Bank                  Bank and Technology Services             2600-000                                       20.86                    12,218.71
                                                       Fees
 07/31/20              East West Bank                  Bank and Technology Services             2600-000                                       20.17                    12,198.54
                                                       Fees
 08/31/20              East West Bank                  Bank and Technology Services             2600-000                                       18.84                    12,179.70
                                                       Fees
 09/30/20              East West Bank                  Bank and Technology Services             2600-000                                       20.76                    12,158.94
                                                       Fees
 10/30/20              East West Bank                  Bank and Technology Services             2600-000                                       19.43                    12,139.51
                                                       Fees
 11/30/20              East West Bank                  Bank and Technology Services             2600-000                                       18.75                    12,120.76
                                                       Fees
 12/31/20              East West Bank                  Bank and Technology Services             2600-000                                       21.31                    12,099.45
                                                       Fees
 01/29/21              East West Bank                  Bank and Technology Services             2600-000                                       18.74                    12,080.71
                                                       Fees
 02/26/21              East West Bank                  Bank and Technology Services             2600-000                                       18.07                    12,062.64
                                                       Fees
 03/22/21     {7}      Acquiom Financial LLC           Funds paid by Disbursing agent for       1129-000        1,275,405.27                                      1,287,467.91
                                                       purchaser. Proceeds from
                                                       surrender and conversion of all
                                                       Synovos shares
 03/31/21              East West Bank                  Bank and Technology Services             2600-000                                      634.50              1,286,833.41
                                                       Fees
 04/30/21              East West Bank                  Bank and Technology Services             2600-000                                     2,062.45             1,284,770.96
                                                       Fees
 05/14/21     {7}      Acquiom Financial LLC           Funds paid by disbursing agent for       1129-000            15,537.77                                     1,300,308.73
                                                       purchaser. Proceeds from
                                                       surrender and conversion of all
                                                       Synovos shares.
 05/14/21    1000      Georgia Department of Revenue   EIN XX-XXXXXXX - 2021 Form 501 -         2820-000                                 61,663.51                1,238,645.22
                                                       Paid per Order - DKt # 51
 05/14/21    1001      United States Treasury          EIN # XX-XXXXXXX - 2021 Form             2810-000                                263,351.30                  975,293.92
                                                       1041 - Paid per Order - DKt # 51
 05/17/21    1002      Kenneth Paul Wellington         Exemption in Synovos shares              8100-002                                     1,250.00               974,043.92
                                                       (asset # 7). Paid per Order, Dkt #
                                                       51.
 05/28/21              East West Bank                  Bank and Technology Services             2600-000                                     1,847.30               972,196.62
                                                       Fees
 06/23/21    1003      Georgia Department of Revenue   EIN XX-XXXXXXX - 2021 Form 501 -         2820-000                                      893.00                971,303.62
                                                       Paid per Order - DKt # 54
 06/23/21    1004      United States Treasury          EIN # XX-XXXXXXX - 2021 Form             2810-000                                     3,698.00               967,605.62
                                                       1041 - Paid per Order, Dkt # 54
 06/30/21              East West Bank                  Bank and Technology Services             2600-000                                     1,713.99               965,891.63
                                                       Fees
 07/30/21              East West Bank                  Bank and Technology Services             2600-000                                     1,548.11               964,343.52
                                                       Fees


                                                                                            Page Subtotals:   $1,303,230.97          $338,887.45


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                     ! - transaction has not been cleared
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                                                Cash Receipts And Disbursements Record
Case No.:              18-58335-JWC                                       Trustee Name:                       S. Gregory Hays (300320)
Case Name:             WELLINGTON, KENNETH PAUL                           Bank Name:                          East West Bank
Taxpayer ID #:         **-***9980                                         Account #:                          ******0134 Demand Deposit Account
For Period Ending:     02/02/2023                                         Blanket Bond (per case limit):      $31,475,000.00
                                                                          Separate Bond (if applicable):      N/A

    1            2                     3                                          4                                 5                    6                          7

  Trans.    Check or       Paid To / Received From            Description of Transaction         Uniform        Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code        $                      $

 11/12/21    1005      S. Gregory Hays                    Trustee commission and expenses                                                37,895.95                  926,447.57
                                                          paid per Order, Dkt # 61.
                       S. Gregory Hays                    Trustee commission paid per           2100-000
                                                          Order, Dkt # 61.
                                                                                 $37,768.27
                       S. Gregory Hays                    Trustee expenses paid per Order,      2200-000
                                                          Dkt # 61.
                                                                                      $127.68
 11/12/21    1006      Arnall Golden Gregory LLP          Attorney fees and expenses paid                                                23,647.18                  902,800.39
                                                          per Order, Dkt # 61. VOIDED AND
                                                          REPLACED BY CHECK # 1021.
                                                          Stopped on 11/23/2021
                       Arnall Golden Gregory LLP          Attorney fees paid per Order, Dkt #   3210-000
                                                          61.
                                                                                 $23,117.50
                       Arnall Golden Gregory LLP          Attorney expenses paid per Order,     3220-000
                                                          Dkt # 61.
                                                                                      $529.68
 11/12/21    1007      Hays Financial Consulting, LLC     Accountant fees and expenses                                                   13,800.23                  889,000.16
                                                          paid per Order, Dkt # 61.
                       Hays Financial Consulting, LLC     Accountant fees paid per Order,       3310-000
                                                          Dkt # 61.
                                                                                 $13,410.00
                       Hays Financial Consulting, LLC     Accountant expenses paid per          3320-000
                                                          Order, Dkt # 61.
                                                                                      $390.23
 11/12/21    1008      Wells Fargo Bank, N.A.             Final Distribution. Paid per TFR      7100-000                                 21,050.17                  867,949.99
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1009      Wells Fargo Bank, N.A.             Interest on claim. Paid per TFR       7990-000                                     1,653.45               866,296.54
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1010      American Express National Bank     Final Distribution. Paid per TFR      7100-000                                     3,863.25               862,433.29
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1011      American Express National Bank     Interest on claim. Paid per TFR       7990-000                                      303.45                862,129.84
                                                          (Dkt No. 58) and NFR (Dkt No.
                                                          59))
 11/12/21    1012      Sterling Jewelers Inc dba Kay      Final Distribution. Paid per TFR      7100-000                                     3,023.26               859,106.58
                       Jewelers                           (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1013      Sterling Jewelers Inc dba Kay      Interest on claim. Paid per TFR       7990-000                                      237.47                858,869.11
                       Jewelers                           (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1014      The Bank of Missouri               Final Distribution. Paid per TFR      7100-000                                     5,643.31               853,225.80
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1015      The Bank of Missouri               Interest on claim. Paid per TFR       7990-000                                      443.27                852,782.53
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1016      Wells Fargo Bank, N.A.             Final Distribution. Paid per TFR      7100-000                                 12,028.09                  840,754.44
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1017      Wells Fargo Bank, N.A.             Interest on claim. Paid per TFR       7990-000                                      944.79                839,809.65
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1018      American Express National Bank     Final Distribution. Paid per TFR      7100-000                                     2,394.00               837,415.65
                                                          (Dkt No. 58) and NFR (Dkt No. 59)
 11/12/21    1019      American Express National Bank     Interest on claim. Paid per TFR       7990-000                                      188.04                837,227.61
                                                          (Dkt No. 58) and NFR (Dkt No. 59)




                                                                                            Page Subtotals:             $0.00        $127,115.91


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                     ! - transaction has not been cleared
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                                               Cash Receipts And Disbursements Record
Case No.:              18-58335-JWC                                    Trustee Name:                         S. Gregory Hays (300320)
Case Name:             WELLINGTON, KENNETH PAUL                        Bank Name:                            East West Bank
Taxpayer ID #:         **-***9980                                      Account #:                            ******0134 Demand Deposit Account
For Period Ending:     02/02/2023                                      Blanket Bond (per case limit):        $31,475,000.00
                                                                       Separate Bond (if applicable):        N/A

    1            2                      3                                      4                                   5                       6                       7

  Trans.    Check or       Paid To / Received From        Description of Transaction           Uniform         Deposit               Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code         $                         $

 11/12/21    1020      KENNETH PAUL WELLINGTON        Surplus Funds. Final Distribution.       8200-002                                   837,227.61                        0.00
                                                      Paid per TFR (Dkt No. 58) and
                                                      NFR (Dkt No. 59)
 11/23/21    1006      Arnall Golden Gregory LLP      Attorney fees and expenses paid                                                     -23,647.18                   23,647.18
                                                      per Order, Dkt # 61. VOIDED AND
                                                      REPLACED BY CHECK # 1021.
                                                      Stopped: check issued on
                                                      11/12/2021
                       Arnall Golden Gregory LLP      Attorney fees paid per Order, Dkt #      3210-000
                                                      61.
                                                                              $23,117.50
                       Arnall Golden Gregory LLP      Attorney expenses paid per Order,        3220-000
                                                      Dkt # 61.
                                                                                   $529.68
 11/23/21    1021      Arnall Golden Gregory LLP      Attorney fees and expenses paid                                                      23,647.18                        0.00
                                                      per Order, Dkt # 61. Replaces
                                                      check # 1006.
                       Arnall Golden Gregory LLP      Attorney fees paid per Order, Dkt #      3210-000
                                                      61.
                                                                              $23,117.50
                       Arnall Golden Gregory LLP      Attorney expenses paid per Order,        3220-000
                                                      Dkt # 61.
                                                                                   $529.68
 01/21/22     {7}      Acquiom Financial LLC          Wire Received - No notice                1129-000            10,361.62                                           10,361.62
                                                      provided. Escrow/holdback
                                                      released as part of Synovos
                                                      merger/conversion. Debtor had
                                                      ~1% interest in Synovos.
 02/28/22              East West Bank                 Bank and Technology Services             2600-000                                        15.49                   10,346.13
                                                      Fees
 03/31/22              East West Bank                 Bank and Technology Services             2600-000                                        18.24                   10,327.89
                                                      Fees
 04/29/22              East West Bank                 Bank and Technology Services             2600-000                                        15.99                   10,311.90
                                                      Fees
 05/31/22              East West Bank                 Bank and Technology Services             2600-000                                        15.97                   10,295.93
                                                      Fees
 06/30/22              East West Bank                 Bank and Technology Services             2600-000                                        18.15                   10,277.78
                                                      Fees
 07/29/22              East West Bank                 Bank and Technology Services             2600-000                                        15.92                   10,261.86
                                                      Fees
 08/31/22              East West Bank                 Bank and Technology Services             2600-000                                        18.09                   10,243.77
                                                      Fees
 09/30/22              East West Bank                 Bank and Technology Services             2600-000                                        16.41                   10,227.36
                                                      Fees
 10/31/22              East West Bank                 Bank and Technology Services             2600-000                                        15.84                   10,211.52
                                                      Fees
 11/30/22              East West Bank                 Bank and Technology Services             2600-000                                        17.45                   10,194.07
                                                      Fees
 12/30/22              East West Bank                 Bank and Technology Services             2600-000                                        16.33                   10,177.74
                                                      Fees
 01/18/23     {7}      ACQUIOM FINANCIALLLC           Wire Received - No notice                1129-000                5,814.51                                        15,992.25
                                                      provided. Escrow/holdback
                                                      released as part of Synovos
                                                      merger/conversion. Debtor had
                                                      ~1% interest in Synovos.



                                                                                           Page Subtotals:      $16,176.13             $837,411.49


{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                        ! - transaction has not been cleared
                 Case 18-58335-jwc                     Doc 63    Filed 02/06/23 Entered 02/06/23 06:17:51                                    Desc Main
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                                                                 Form 2                                                                             Exhibit B
                                                                                                                                                    Page: 6
                                                 Cash Receipts And Disbursements Record
Case No.:              18-58335-JWC                                       Trustee Name:                    S. Gregory Hays (300320)
Case Name:             WELLINGTON, KENNETH PAUL                           Bank Name:                       East West Bank
Taxpayer ID #:         **-***9980                                         Account #:                       ******0134 Demand Deposit Account
For Period Ending:     02/02/2023                                         Blanket Bond (per case limit):   $31,475,000.00
                                                                          Separate Bond (if applicable):   N/A

    1            2                      3                                         4                              5                    6                         7

  Trans.    Check or       Paid To / Received From            Description of Transaction      Uniform        Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                          Tran. Code        $                      $

 01/31/23              East West Bank                     Bank and Technology Services        2600-000                                    -183.88                   16,176.13
                                                          Fees

                                            COLUMN TOTALS                                                    1,319,407.10           1,303,230.97                $16,176.13
                                                   Less: Bank Transfers/CDs                                      12,287.93                   0.00
                                            Subtotal                                                         1,307,119.17           1,303,230.97
                                                   Less: Payments to Debtors                                                         838,477.61

                                            NET Receipts / Disbursements                                    $1,307,119.17           $464,753.36




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                   ! - transaction has not been cleared
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                                                       Form 2                                                                         Exhibit B
                                                                                                                                      Page: 7
                                       Cash Receipts And Disbursements Record
Case No.:           18-58335-JWC                                     Trustee Name:                    S. Gregory Hays (300320)
Case Name:          WELLINGTON, KENNETH PAUL                         Bank Name:                       East West Bank
Taxpayer ID #:      **-***9980                                       Account #:                       ******0134 Demand Deposit Account
For Period Ending: 02/02/2023                                        Blanket Bond (per case limit): $31,475,000.00
                                                                     Separate Bond (if applicable): N/A

                                       Net Receipts:             $1,519,238.11
                            Plus Gross Adjustments:                   $45,381.06
                           Less Payments to Debtor:                  $858,077.61
                 Less Other Noncompensable Items:                           $0.00

                                         Net Estate:                 $706,541.56




                                                                                                        NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                             NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******3800 Checking                                   $212,118.94        $180,231.01                    $0.00

                                 ******0134 Demand Deposit Account                    $1,307,119.17             $464,753.36           $16,176.13

                                                                                     $1,519,238.11              $644,984.37           $16,176.13




                 02/02/2023                                                  /s/S. Gregory Hays
                    Date                                                     S. Gregory Hays




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                                                           Exhibit C
                                             Analysis of Claims Register
                                    Case: 18-58335-JWC KENNETH P. WELLINGTON
                                                                                   Claims Bar Date: 10/01/18


 Claim                Claimant Name/                   Claim Type/                   Amount Filed/       Paid        Claim
                                                                       Claim Ref
  No.               <Category>, Priority                Date Filed                     Allowed         to Date      Balance

ADM1     S. Gregory Hays                              Administrative                      $37,768.27   $37,768.27         $0.00
         2964 Peachtree Rd NW
                                                      07/12/21                            $37,768.27
         Ste. 555
         Atlanta, GA 30305
         <2100-000 Trustee Compensation>
         , 200

ADM2     S. Gregory Hays                              Administrative                         $127.68      $127.68         $0.00
         2964 Peachtree Rd NW
                                                      02/26/21                               $127.68
         Ste 555
         Atlanta, GA 30305
         <2200-000 Trustee Expenses>
         , 200

ADM3     Arnall Golden Gregory LLP                    Administrative                      $23,117.50   $23,117.50         $0.00
         Attn: Michael Bargar
                                                      02/26/21                            $23,117.50
         171 17th Street NW Ste 2100
         Atlanta, GA 30363-1031
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200

ADM4     Arnall Golden Gregory LLP                    Administrative                         $529.68      $529.68         $0.00
         Attn: Michael Bargar
                                                      02/26/21                               $529.68
         171 17th Street NW Ste 2100
         Atlanta, GA 30363-1031
         <3220-000 Attorney for Trustee Expenses
         (Other Firm) >
         , 200

ADM5     Hays Financial Consulting, LLC               Administrative                      $13,410.00   $13,410.00         $0.00
         2964 Peachtree Road, NW
                                                      02/26/21                            $13,410.00
         Suite 555
         Atlanta, GA 30305
         <3310-000 Accountant for Trustee Fees
         (Trustee Firm)>
         , 200

ADM6     Hays Financial Consulting, LLC            Administrative                            $390.23      $390.23         $0.00
         2964 Peachtree Road, NW
                                                   02/26/21                                  $390.23
         Suite 555
         Atlanta, GA 30305
         <3320-000 Accountant for Trustee Expenses
         (Trustee Firm)>
         , 200



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                                                       Exhibit C
                                            Analysis of Claims Register
                                  Case: 18-58335-JWC KENNETH P. WELLINGTON
                                                                              Claims Bar Date: 10/01/18

 Claim                Claimant Name/                Claim Type/                 Amount Filed/         Paid        Claim
                                                                  Claim Ref
  No.               <Category>, Priority             Date Filed                   Allowed           to Date      Balance

SURPL KENNETH PAUL WELLINGTON                      Unsecured                              $0.00    $837,227.61    $16,176.13
US    1651 Viking Drive
                                                   02/02/23                         $853,403.74
      Birmingham, AL 35235
      <8200-000 Surplus Funds Paid to Debtor §
      726(a)(6)>
      , 650

1        Wells Fargo Bank, N.A.                     Unsecured                        $21,050.17     $21,050.17         $0.00
         MAC Q2132-023
                                                    07/12/18                         $21,050.17
         PO Box 94423
         Albuqueque, NM 87199
         <7100-000 General Unsecured - § 726(a)(2)>
         , 610

2        American Express National Bank             Unsecured                          $3,863.25     $3,863.25         $0.00
         PO Box 3001
                                                    07/24/18                           $3,863.25
         Malvern, PA 19355-0701
         <7100-000 General Unsecured - § 726(a)(2)>
         , 610

3        Sterling Jewelers Inc dba Kay Jewelers     Unsecured                          $3,023.26     $3,023.26         $0.00
         PO Box 1799
                                                    08/20/18                           $3,023.26
         Akron, OH 44309
         <7100-000 General Unsecured - § 726(a)(2)>
         , 610

4        The Bank of Missouri                       Unsecured                          $5,643.31     $5,643.31         $0.00
         PO Box 105555
                                                    08/30/18                           $5,643.31
         Atlanta, GA 30348
         <7100-000 General Unsecured - § 726(a)(2)>
         , 610

5        Wells Fargo Bank, N.A.                     Unsecured                        $12,028.09     $12,028.09         $0.00
         PO Box 9210
                                                    09/07/18                         $12,028.09
         Des Moines, IA 50306
         <7100-000 General Unsecured - § 726(a)(2)>
         , 610

6        American Express National Bank             Unsecured                          $2,394.00     $2,394.00         $0.00
         PO Box 3001
                                                    09/13/18                           $2,394.00
         Malvern, PA 19355-0701
         <7100-000 General Unsecured - § 726(a)(2)>
         , 610




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                                                  Exhibit C
                                         Analysis of Claims Register
                                Case: 18-58335-JWC KENNETH P. WELLINGTON
                                                                  Claims Bar Date: 10/01/18

                                                                         Case Total:   $960,573.05    $16,176.13




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                              TRUSTEE'S PROPOSED AMENDED DISTRIBUTION
                                                                                                            Exhibit D


    Case No.: 18-58335-JWC
    Case Name: KENNETH P. WELLINGTON
    Trustee Name: S. Gregory Hays

                                                      Balance on hand:       $                           16,176.13

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                         Claim        Allowed            Interim       Proposed
  No.                                                      Asserted        Amount           Payments         Payment
                                                                           of Claim           to Date


                                                         None


                                                   Total to be paid to secured creditors:       $                0.00
                                                   Remaining balance:                           $           16,176.13

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total            Interim       Proposed
                                                                         Requested          Payments         Payment
                                                                                              to Date

  Trustee, Fees - S. Gregory Hays                                          37,768.27        37,768.27              0.00
  Accountant for Trustee, Fees - Hays Financial Consulting, LLC            13,410.00        13,410.00              0.00
  Accountant for Trustee, Expenses - Hays Financial Consulting, LLC           390.23           390.23              0.00
  Trustee, Expenses - S. Gregory Hays                                         127.68           127.68              0.00
  Attorney for Trustee Fees (Other Firm) - Arnall Golden Gregory LLP       23,117.50        23,117.50              0.00
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden Gregory          529.68           529.68              0.00
  LLP
                        Total to be paid for chapter 7 administrative expenses:                 $                0.00
                        Remaining balance:                                                      $           16,176.13

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total           Interim          Proposed
                                                                       Requested       Payments         Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:               $                0.00
                      Remaining balance:                                                        $           16,176.13




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

             Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                                                      Total to be paid for priority claims:      $              0.00
                                                      Remaining balance:                         $         16,176.13

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $48,002.08 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1           Wells Fargo Bank, N.A.                        21,050.17                21,050.17                   0.00
  2           American Express National Bank                 3,863.25                 3,863.25                   0.00
  3           Sterling Jewelers Inc dba Kay                  3,023.26                 3,023.26                   0.00
              Jewelers
  4           The Bank of Missouri                           5,643.31                 5,643.31                   0.00
  5           Wells Fargo Bank, N.A.                        12,028.09                12,028.09                   0.00
  6           American Express National Bank                 2,394.00                 2,394.00                   0.00
                          Total to be paid for timely general unsecured claims:                  $              0.00
                          Remaining balance:                                                     $         16,176.13

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                          Total to be paid for tardily filed general unsecured claims:           $              0.00
                          Remaining balance:                                                     $         16,176.13




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          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount         Interim Payments                Proposed
  No.                                                     of Claim                  to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $              16,176.13

            To the extent funds remain after payment in full of all allowed claims, interest will be paid at the
    legal rate of 0.00% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $0.00. The
    amounts proposed for payment to each claimant, listed above, shall be increased to include the
    applicable interest.
            The amount of surplus returned to the debtor after payment of all claims and interest is
    $16,176.13.




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